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HAY 3 1 2012

IN THE C|RCU|T COURT OF BAXTER COUNTY
C|VlL D|V|SlON
MOUNTA|N HOME, ARKANSAS

 

HF JET sERvicE, L.L.c_ PLArNTrFF
vs. No. cv-2012-\))}~"2)
PRATT & wHiTNEY cANAoA coRP. DEFENDANT
corvrPr_ArNT

The Plaintiff, by and through its attorneyl Mark D. Carney, states to the court for its cause of action
against the named Defendant as follows:

1 ) The Plaintiff, HF Jet Service, L.L.C. is a properly registered Limited Liability Company to do
business in the state of Arkansas and is in good standing The Plaintiff‘s primary corporate office is located
in l\/lountain Home, Baxter County, Arkansas.

2) That the Defendant has substantial contacts in every state including the state of Arkansas,
and therefore, is subject to the Court’s jurisdiction

3) That this Court has jurisdiction of this claim and is the proper venue.

4) That the Plaintiff purchased an Eclipse Jet, Tai| Number N712WG, Serial Number 180 which
is subject to a Manufacturer's Warranty covering each individual serial numbered engine. The Plaintiff is
attempting to secure a true and correct copy of the warranty and upon discovery will attach it accordingly

5) That recently the Plaintiff was notified that the engines were defective and would not perform
as originally sold and advertised which has caused them to require substantial repairs and modifications

6) That the Defendant refuses to conduct said repairs and modifications under the terms of the

Warranty.

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7) lt is the position of the Plaintiff that the Defendant should pay the monies to repair and
modify the engines to bring them to its own design specifications
8) That the Plaintiff requests that this Court grant a judgment against the Defendant for the

amount to repair the engines to conform Federal Aviation Administration regulations and its own

specifications

9) ln the alternative, the Plaintiff alleges that if this Court finds that the Warranty is not
applicable, that the engines are suffering from a design defect which prevents them from operating under
Federal Aviation Administration regulations and their advertised specifications which causes them to be
limited in use for safety reasons ln either event, the Plaintiff requests that this Court grant a judgment
against the Defendant in the amount to be proven at tria|.

10) The Plaintiff also requests that it be granted_compensatory and consequential damages
along with attorney’s fees and costs

WHEREFORE, Plaintiff prays that it have judgment against the Defendant for sums to be proven at

trial in this matter and all other proper and equitable relief to which the Plaintiff may be entitled.

HF JET SERV|CE, L.L.C.

Mark D"Carney

  

Arkansas Bar No. 92016:

 

 

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VER|F|CATION

 
 
  

Comes now Brad Hasseiwander and states that the facts and figures made and et "
above are true and correct to the best of his knowledge and belief.

 

/Bra`d Hasselwbnde/ V

tit
Subscribed and sworn before mathis 520 day of May, 2012.

 

 

 

 

 

My Commission Expires: az '§ ' 2 2

